         Case 1:10-cr-00071-DAD Document 129 Filed 06/19/13 Page 1 of 2


                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF CALIFORNIA

                                      MEMORANDUM


Honorable Anthony W. Ishii
Senior United States District Judge
Fresno, California

                                                RE:     Eduardo VASQUEZ
                                                        Docket Number: 1:10CR00071-03
                                                        PERMISSION TO TRAVEL
                                                        OUTSIDE THE COUNTRY

Your Honor:

The releasee is requesting permission to travel to Mexico to visit his ailing father. Due to the nature
of his request, the probation officer recommends approval be granted.


Conviction and Sentencing Date: On November 22, 2010, Mr. Vasquez was sentenced for the
offenses of 21 USC 846 and 841(a)(1) and (b)(1)(A) - Conspiracy to Distribute Methamphetamine.


Sentence imposed: 57 months custody Bureau of Prisons, 60 months Supervised Release, $100
Special Assessment. Special conditions of supervision include warrantless search; financial
disclosure; financial restrictions; correctional treatment; pager/cellular phone restrictions; aftercare
co-payment; and drug offender registration.


Dates and Mode of Travel: Mr. Vasquez has yet to secure travel arrangements. He is awaiting
the Court’s approval before he purchases a bus or train ticket. If Mr. Vasquez’s request is
approved, he will provide the probation officer with all the necessary information.


Purpose: Mr. Vasquez was released from custody on March 8, 2013, and his father’s health is
deteriorating. He would like to see his father before his condition worsens. During his three-day
visit, Mr. Vasquez will stay at his parents' home located at Calle 20 #2022 col. Libertad Parte Alta,
Tijuana, Baja California C.P: 22404 Mexico.


                                       Respectfully Submitted,

                                           /s/ Kris M. Miura

                                         KRIS M. MIURA
                                 United States Probation Officer

                                                   1
          Case 1:10-cr-00071-DAD Document 129 Filed 06/19/13 Page 2 of 2


RE:      Eduardo VASQUEZ
         Docket Number: 1:10CR00071-003
         PERMISSION TO TRAVEL OUTSIDE THE COUNTRY


DATED:         June 17, 2013
               Elk Grove, California
               KMM/sda


REVIEWED BY:               /s/ Jack C. Roberson
                          JACK C. ROBERSON
                          Supervising United States Probation Officer



ORDER OF THE COURT:

Approved             X                              Disapproved


IT IS SO ORDERED.


Dated:    June 18, 2013
0m8i78                                                 SENIOR DISTRICT JUDGE




                                                2
